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ANTONIO PANLASIGUI and LEE-ANN PANLASIGUI

UNITED STATES DISTRICT COURT
DISTRICT OF HAWAII

ANTONIO PANLASIGUI and LEE-ANN Civil No. cv 1 1 . 0 01 55

PANLASIGU:,
coMPLAINT ' KSC

m

Plaintiffs,
V.

BANK OF AMERICA, N.A. and DOES
1 through 20 inclusive,

Defendants.

 

 

Plaintiffs ANTONIO PANLASIGUI and LEE-ANN PANLASIGUI by and
through their attorney, JAMES H. FOSBlNDER; of IVEY, FOSBINDER,
FOSBINDER LLLC, a limited liability law company, bring the
following Complaint and allege as follows:

JURISDICTION AND VENUE
1. Jurisdiction arises under 28 U.S.C. § 1331 (Federal

Question Jurisdiction); the Sherman Anti-Trust Act, 15 U.S.C. §

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2; the Federal Truth in Lending Act (TILA), 15 U.S.C. § 1601,
et.seg., and the Act's corresponding Regulation Z (12 C.F.R.
Part 226).

2. Jurisdiction also arises under 28 U.S.C. § 1332_
(Diversity Jurisdiction).

3. This Court has supplemental jurisdiction over this
action under 28 U.S.C. § 1367(a) because state law claims are so
related to the federal claims that they form part of the same
case or controversy. These claims all arise out of the same
controversy and sequence of events. This Court has jurisdiction
over state claims asserted under Hawaii Revised Statutes
(hereinafter “HRS”) by virtue of pendent jurisdiction.

4. Venue is proper in the United States District Court
for the District of Hawaii, pursuant to 28 U.S.C. § 1391, in
that uefendants systematically conduct and transact substantial
business in this State and District as licensed banks and
corporations organized and/or operating in the State of Hawaii,
the causes of action occurred in this District, and Plaintiff

resides in this District.

PARTIES
5. Plaintiffs ANTONIO PANLASIGUI and LEE-ANN PANLASIGUI
(the PANLASIGUIS) are and were at all times relevant herein over

the age of eighteen and were residents of the County of Maui,

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State of Hawaii, and are consumers in regard to credit
transactions.

6. Defendant BANK OF AMERICA N.A. (BOA) is, and was at
all times relevant here, a National Banking Association
organized under the laws of the United States, and conducting
business within the State of Hawaii. BOA is the successor in
interest to Countrywide Home Loans, lnc.

7. The acts or omissions of Defendants alleged in this
Complaint were performed by their agents, officers, affiliates
or employees within the scope of their actual or apparent
authority which were known or should have been known to
Defendants or their predecessors in interest, and are imputed to
Defendants. l

8. DOE Defendants 1-20, inclusive, are various
individuals, partnerships, associations, corporations, and other
entities claiming any legal right, title, estate, lien, or
interest in the Subject Property, as described adverse to
Plaintiffs’ interests. Plaintiffs will make a good faith effort
to determine the true names and identities of these parties.
Plaintiffs reserve the right to amend this Complaint to add such
parties as their true identities and capacities are ascertained
through discovery or otherwise.

9. Defendants operate mortgage originating and mortgage

servicing businesses that solicit, cater, and service millions

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of home loans annually. Based on understanding and belief,
certain Defendants and their agents, officers, affiliates and/or
employees have operated as a common enterprise while engaging in
the unlawful acts and practices alleged below. Because
Defendants have operated as a common enterprise, each of them is
jointly and severally liable for the acts and practices alleged
below. Additionally, because any acts and/or omissions were
performed by Defendants’ agents, officers, and/or employees
within their scope of their actual or apparent authority, which
were known or should have been known to Defendants or their

predecessors in interest, are imputed to Defendants.

ECONOMIC BACKGROUND TO THIS COMPLAINT1

Traditional Role of Banks

lO. The role of banks has changed dramatically in the last
two decades. Since the 1930s, residential mortgages were
conventional products: long-term} fixed-rate/ “prime” mortgages,
meaning the underwriting criteria. were strictly followed. The
borrower was credit-worthy, he or she had the income to repay

the debt, and the value of the real property sufficiently

protected the lender in case of default. Banks had a 'vested

 

1 The economic processes that have given rise to this Complaint

involve complex financial schemes and esoteric terminology. For
this reason, Plaintiff respectfully requests that this Court
allow general background information in order to clarify the
economic reality of these financial arrangements.

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interest in ensuring that the loans they made were sound
products and that borrowers can and would repay the loans
because banks either held on to the loans they made or sold them
on the secondary market to Fannie Mae and Ereddie Mac, which
were sponsored by the federal government to provide liquidity in
the housing market. These entities had strict “conforming”
standards for the loans they were allowed to buy.

11. ln 1993, there were only 24,000 subprime mortgages
(where the `borrower does not meet standard underwriting
criteria) used to purchase homes, with 80,000 subprime refinance
loans. Prime purchase mortgages numbered 2.2 Hdllion, and 5.2

million_ prime refinance loans. ln other words, there were 70

prime loans for every subprime loan.2

Securitization and Mortgage-backed Assets`

12. ln 1368, Ginnie Mae began securitizing mortgages, that
is, buying nwrtgages from lenders, combining them into pools,
and. issuing securities backed_ by these mortgage pools, These

“mortgage-backed securities” (MBS) each had a claim to a small

 

2 Simon Johnson and James Kwak, “13 Bankers: The Wall Street

Takeover and the Next Financial Meltdown” (2010), at p. 127,
citing HDMA data gathered by the Federal Financial lnstitutions
Examination Council, matched with the HUD list of subprime
lenders; cited in Kenneth Temkin, “Subprime Lending: Current
Trends and Policy lssues,” The Neighbor_Wors Journal, Spring-
Summer 2000, available at

http://knowledgeplex.org/kp/text document summary/article/relfil
es/partner content/nrc/ht nrc temkin.pdf.

 

 

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piece of each. mortgage. The risk of default of one loan was
spread over the large numbers of investors. The U.S. government,
through Ginnie Mae, guaranteed the principal on the mortgages.

13. The Secondary Mortgage Market Enhancement Act of 1984
laid the way for present-day securitization by sidelining the
tax and state regulations that previously prevented banks and-
other entities from. doing so. lnvestment banks could. now buy
mortgages, pool them, and divide them into “tranches” (divisions
of risk) and sell them to investors. Banks could now make money
multiple ways: originating mortgages, creating securitizations,
earning fees selling MBS to investors, and trading securities.
Securitization meant that loans could be resold on Wall Street,
and mortgage origination became fee and volume driven.

14. Mortgage securitization involves the conversion of
illiquid whole loans into bond-like instruments that trade in
capital markets. Mortgage loan “pass-through” securities entitle
the investor to payments fronl_pools of mortgage loans, i.e.,
when borrowers make payments on the underlying Hmrtgages, the
cash flow is pooled and “passed through” to the investors.

15. Mortgage-backed securities (MBS) are typically created
by the originating lenders selling the mortgage loans to a
“special purpose vehicle” (“SPV”). SPVs are typically US-style

trusts established specifically to facilitate the

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securitization. The SPV' may hold_ the mortgage on its balance
sheet or place it in a separate trust.

16. To transfer the pool of loans to a trust, the
originating lender (called a “Seller” in MBS parlance) sells the
loans 115 a Depositor, who then transfers - or “deposits” the
acquired pool of loans to an “issuing trust.”

17. Whether held. by the SPV` or sold into a 'trust, the
rights to the cash flow are sold as bonds to investors, and the
originating lender is paid off.

18. Mortgage securitization directly led to the “originate
to distribute” model of mortgage lending, with originating
lenders increasingly more concerned with generating loans to
sell the mortgages for securitization than they were with
selling borrowers loans they could actually afford. Originating
lenders did not have to wait 30 years to be repaid; they were
repaid almost before (and in some cases well before) the ink was
dry on the contracts. The risk of default was effectively passed
to the investors, who may or not have known the risks they were
exposed to. Underwriting criteria - whether a borrower was
qualified for a loan - simply ceased to matter. The problem is
that no one bothered to warn the borrowers.

19. Waves of “innovation” in subprime lending lured
borrowers into subprime (also now called “toxic”) mortgages,

which in turn fed the lucrative securitization machine. “Alt-A”

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loans were the moniker given to higher-end subprime mortgages.
Other products promised the American Dream: adjustable-rate
mortgages (“ARMS”) with fabulous low-interest “teaser” initial
rates and “pay option” mortgages where borrowers could choose to
pay less than the monthly interest on their loan, so the
principal would go up, not down. Lenders made money originating
loans; then, when the interest rates reset and borrowers

»couldn’t afford the payments, they made money on re-financing.

Consolidation and Growth of Top-Tier Financial Institutions

20. With the mortgage industry booming, large banks began
acquiring subprime lenders. Among the top 25 subprime lenders,
First Franklin was bought by National City and alter by Merrill
Lynch; Long Beach Mortgage was bought by Washington Mutual;
Household Finance was bought by HSBC; BNC Mortgage was bought by
Lehman Brothers; Advanta was bought by JPMorgan. Chase;
Associates First Capital was bought by Citigroup; Encore Credit
was bought by Bear Stearns; and. American General Finance was

bought by AIG.3 Not only Adid the big banks want the fees

 

3 Simon Johnson, “13 Bankers,” ld. at page 128, citing Alyssa

Katz, Our Lot: How Real Estate Came to Own Us (New York:
Bloomsbury, 2009), 70; Center for Public lntegrity, Who’s Behind
the Financial Meltdown? The Top 25 Subprime Lenders and Their
Wall Street Backers, available at
http://www.publicintegrity.org/investigations/economic meltdown/
the subprime 25/.

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generated by subprime mortgages, these mortgages would feed the
banks’ own securitization business.

21. The wave of mergers consolidated economic and
political power in a handful of megabanks, among them Citigroup,
Bank of America, J.P. Morgan, Chase, First Union, and Wells
Fargo. The passage of the Gramm-heach-Bliley Act in 1999 meant
that investment banking - including buying, selling, trading
mortgage-backed securities - was now given a government bail-out
guarantee previously only given to traditional banks.

22. The term “too big to fail” (“TBTF”) refers to certain
financial institutions that are so large and interconnected that
they cannot be allowed to go into uncontrolled bankruptcy;
defaulting on their obligations will create significant losses
for other financial institutions, potentially triggering a
domino effect »that causes the entire financial system to
collapse.4

23. What makes a financial institution too big to fail is
the amount of collateral damage that its uncontrolled failure

could cause. This damage can take_several different forms. A

 

4 For example, the bankruptcy of Lehman Brothers (“Lehman”) in
September 2008 accelerated the collapse of American
lnternational Group (“AIG”), forcing it to rely on funds from
the Federal Reserve. Lehman’s failure also caused a sudden loss
of confidence in all money market funds; in turn, the flood of
money out of the money market funds cause the commercial paper
market to freeze, thus endangering the ability of many

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failing' institution could. have thousands of open transactions
with counterparties, which are largely other financial
institutions.5 A failing bank may have sold credit default swap
(“CDS”) protection on various securities; its counterparties are
assuming that they are perfectly hedged because of those swaps.
However, when the bank fails, suddenly those hedges disappear
and the counterparties are forced to take large losses on the
underlying securities.

24. Beyond the collateral damage that large interconnected
’financial institutions inflict on the financial `system, TBTF
institutions create significant problems for society as a whole.

25. First, when TBTF institutions come to the brink of
failure, they have to be bailed out, usually by the government
(and taxpayers).' A TBTE` bank cannot be allowed. to go into
ordinary bankruptcy procedure because its creditors and
counterparties would be cut off from. their money supply for
months, which could be fatal. This means that government must
keep failing banks afloat and, without a credit threat of
bankruptcy to negotiate with, must honor all of the bank's
obligations; in other words, the money the bank lost has to be

made up with public funds. This “hidden subsidy” has been

 

corporations to operate on a day-to-day basis. The sequence of
failures was only stopped by massive government rescue measures.

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calculated to be worth approximately $34 billion for 18 large
banks in 2009, accounting for roughly half of their profits.6

26. All banks are highly leveraged, which means that they

are betting with other people’s money. There are many
strategies - of which, securitization is the most popular - that
increase returns for shareholders (and executives) while

shifting potential losses onto someone else. TBTF institutions
have a strong incentive to take excessive risk, since the
government effectively guarantees their losses in an emergency.
This sets up a situation where the market's checks and balances
do not operate to curb excessive risk taking. Because creditors
are aware that the government will not let these banks fail by
guaranteeing their losses, they continue to invest.

27. Arguably most significant problem for society is that
TBTF banks stifle competition and_ therefore are bad for the
economy. Because large “megabanks” have an implicit government
guarantee, bond investors are willing to lend thenl money at
lower interest rates than offered to their smaller competitors.

This subsidy makes it harder for smaller banks to compete,

 

5 For example, at the time of its collapse, the face value of

AlG’s open derivatives contracts was $2.7 trillion - $1 trillion
of it was held by only twelve financial institutions.

6 Simon Johnson and James Kwak, 13 Bankers, at p. 205, citing
Dean Baker and Travis McArthur, “The Value of the ‘Too Big to
Fail' Big Bank Subsidy,” Center for Economic and Policy Research
Issue Brief, September 2009, available at

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deterring new entrants and only strengthening the long-term
process of consolidation and concentration in the financial
sector. To wit, large banks paid .78 percentage points less for
money than smaller banks in the wake of the financial crisisz
resulting in a huge competitive advantage and consolidating
their stranglehold on the economy. j

28. By 2008, the big banks became bigger. Bank of America
bought Countrywide. Merrill Lynch’s assets grew from $1.7
trillion to $2.3 trillion - from 2007 to 2009. JPMorgan Chase
absorbed Bear Stearns and Washington Mutual grew from $1.6 to $2
trillion. JPMorgan Chase, Bank of America, and Wells Fargo had
to be exempted frmn a federal rule prohibiting a single bank
from holding more than 10% of all deposits in the U.S. They were
also exempted from Dept. of Justice antitrust guidelines
intended to limit monopoly power in specific metropolitan
regions. By 2009, these three banks controlled half the market
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for new mortgages.

29. At present, there are at least six banks that are

considered too big to fail - Bank of America, Citigroup, Goldman
Sachs, JPMorgan Chase, Morgan Stanley, and, Wells Fargo. Of
these six megabanks, four - Bank of America, Wells Fargo,

 

http://www.cepr.net/documents/publications/too-big-to-fail-2009-
09.pdf.

7 Simon Johnson, 13 Bankers, Id. at 205,

8 Simon Johnson, 13 Bankers. ld., at 180.

 

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Citigroup and JPMorgan Chase - H@intain over 63% of the market

share for mortgage originations.

STATEMENT OF FACTS RELEVANT TO ALL CLAIMS

 

30. The allegations contained in the preceding paragraphs
of this Complaint are incorporated herein by reference.

31. On or about January 22, 2007, the PANLASIGUIS executed
a mortgage in favor of BOA (the Mortgage), secured by real
property located at 57 Piina Place, Lahaina, Hawaii, TMK # 2-4-
3-009-070-0000 (the Subject Property), and recorded in the State
of Hawaii Bureau of Conveyances, as Document No. 2007-017109. A
copy of the mortgage is attached, marked Exhibit A, and
incorporated by reference.

32. The PANLASIGUIS also executed a Promissory Note (the
Note) in the principal amount of $780,000, on or about January
19, 2007. At the time of execution, Note was secured by the
Mortgage on the Subject Property.

33. The PANLASIGUIS placed their trust and confidence in
BOA to properly qualify them for the loans and to provide them
with the most favorable loan program and loan terms and felt BOA
would look out for their best interest in meeting their mortgage
needs.

34; Plaintiffs followed all of BOA’s instructions and

submitted all documentation requested by BOA. The PANLASIGUIS

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felt that BOA had a fiduciary obligation to them to protect
their interests and maintain their privacy.

35. BOA required an appraisal of the PANLASIGUIS’ property
as part of the loan application process which Plaintiffs paid
for in the closing costs. The PANLASIGUIS relied upon the
accuracy of BOA’s appraisal in making their decision to pledge
the Subject Property.

36. The PANLASIGUIS were not provided with time to review,
the loan application or other associated documents prior to the
loan's “closing” or signing of the mortgage documents.

37. The PANLASIGUIS were not afforded the opportunity to
have their legal counsel review the detailed documents.

38. The PANLASIGUIS were not informed by BOA that it was
treating the loan application as a subprime loan, that it
intended to qualify the PANLASIGUIS based upon stated income and
stated assets, that it would not be and was not conforming to
usual and customary underwriting guidelines, and that by doing
so, it would both increase the PANLASIGUIS’ opportunity to
qualify for a loan and increase the PANLASIGUIS’ likelihood of
defaulting in the continued payment of any obligation under the
Note resulting in foreclosure and loss of the Subject Property.

39. Due to BOA’s failure to make the above referenced

disclosures, among others, the PANLASIGUIS did not understand

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the true terms of the loan being proposed and were unable to
compare the loan with loan terms from other lenders.

40. BOA`failed to properly qualify Plaintiffs as being
able to afford the loan payments amortized over the life of the
loan.

41. BOA failed to inform Plaintiffs and explain in any
meaningful way that Plaintiffs could compare terms or might
qualify for a better loan program offered by Defendant.

42. BOA failed to inform Plaintiffs that by failing to
follow generally accepted underwriting guidelines in qualifying
Plaintiffs for the loan that it was likely that Plaintiffs would
default and lose their interest in the Property.

43. Plaintiffs made payments on the loan from their
monthly income, savings, and cash advances on credit cards, and
experienced significant financial hardship due to having to pay
for a loan that they were not properly qualified for under_usual
and generally accepted underwriting guidelines,

44. ln or about the fall of 2009, the PANLASIGUIS
experienced loan distress and asked BOA for assistance in
modifying or refinancing the loan.

45. BOA responded with a modification that essentially
added the PANLASIGUl’s missed payments to the principal on the

note and allowed them to continue making payments,

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46. The PANLASIGUIS complied with every demand and
requirement of BOA and attempted to make the payments under the
modification.

47.> On or about December 9, 2010, BOA caused a Notice of
Mortgagee’s lntention to Foreclose Under Power of Sale (the
Notice), listing BOA as Mortgagee, to be recorded with the
Hawaii Bureau of Conveyances as Document No. 2009-190380. A copy
of the Notice is attached, marked Exhibit B, and incorporated by
reference.

48. Should BOA be allowed to proceed with foreclosure on
the Subject Property, the PANLASIGUIS will be irreparably
harmed, in that they will be unlawfully deprived of possession
of their property for whatever period of time it takes for them
to regain such possession. Such loss of possession, being one
of the “sticks” in the bundle of rights attendant to the
ownership of property, cannot be fully compensated with money,
as all real property is unique.

LEGAL FRAMEWORK AND FACTS COMMON TO PLAINTIFF’S CLAIMS FOR
VIOLATION OF FEDERAL AND HAWAII ANTI~TRUST STATUTES

49. The substantive provisions of the Sherman, Clayton,
and Federal Trade Commission Acts were incorporated verbatim
into Hawaii anti-trust law; therefore, interpretation of
Hawaii's anti-trust statutes is “in accordance with judicial

interpretations of similar federal antitrust statutes,” and

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courts may address the federal and state claims together, rather
than separately. HRS § 480-3. See, e.g., State v. Gannet Pac.
Corp., 99 F.Supp.2d 1241, 1248 n.7 (D. Haw. 1999) (“[T]he Court
need. not address the sate law claims separately because they
essentially mirror the federal claims” of “restraint of trade,
conspiracy to monopolize, and, attempted monopolization.”)
(citing Robert’s Haw. Sch. Bus, Inc., v. Laupahoehoe Transp.
Co., 982 P.2d 853 (Haw. 1999), noting_ that the legislature
followed the “federal paradigm” in fashioning Hawaii antitrust
law.).

50. Any person injured in his business or property due to
a violation of the Hawaii Anti-Trust Act may sue for damages
under §480-13(a). Standing applies to consumers, and is not
limited to alleging commercial or competitive' injury. The
essential elements of a private action under HRS 480-2 are: “(1)
a violation of Chapter 480; (2) injury to the plaintiff’s
business or property resulting from such violation; (3) proof of
the amount of damages; and (4) a showing that the action is in
the public interest or that the defendant is a merchant.” Ai v
Frank Huff-Agency, 607 P.2d 1304, 1311 (Haw. 1980), overruled on
other grounds by Robert’s Haw. Sch. Bus, Inc. v. .Laupahoehoe

Transp. Co.; ld.

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51. As to the fourth element, Plaintiff submits that the
named Defendants are both “merchants” and also that this claim

is brought in the public interest.

“[T]o justify filing a complaint the public interest
must be specific and substantial. Often it is so,
because the unfair method employed threatens the
existence of present or potential competition.
Sometimes, because the unfair method is being employed
under circumstances which involve flagrant oppression
of the weak by the strong. Sometimes, because,
although the aggregate of the loss entailed may be so
serious and widespread_ as to make the mater one of
public consequence, no private suit would be brought
to stop the nfair conduct, since the loss to each of
the individuals affected is too small to warrant it.”
Ai, ld. at 1310, quoting FTC v. Kiesner, 280 U.S. 19,
28 (1929).

52. Hawaii Courts have followed federal law when defining
the terms “unfair” and “deceptive” in HRS §480-2.

“A practice is unfair when it offends established
public policy and when the practice is immoral,
unethical, oppressive, unscrupulous, or substantially
injurious to consumers. Dubin. v. Wakuzawa, 970 P.2d
496, 505 (Haw. 1999)(quoting Eastern Star, lnc. v.
Union Bldg. Materials Corp., 712 P.2d 1148, 1154 (Haw.
1985) (quoting Rosa. v. Johnson, 651 P.2d 1228, 1234
(Haw. Ct. App. 1982)); Spiegel, lnc., v. FTC, 540 F.2d
287, 293 <7th cir. 1976>>.

Deception is “an act causing as a natural and probable
result, a peson to do that which he would not
otherwise do.” Dubin v. Wakuzawa, ld. at 505, (quoting
Eastern Star, lnc., ld. (citing Bockenstette v; FTC,

134 F.2d 369 (10th Cir. 1943)). See also Hawaii Comty.
Fed. Credit Union v. Keka, 11 P.3d 1, 16-17 (Haw.
2000).

53. Deceptive acts or practices are distinct from unfair

acts or practices, both in how they are defined and in the

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standard by which they are proved. State v. United States Steel
Corp, 919 P.2d 294, 313 (Haw. 1996). Actual deception need not
be show; the capacity to deceive is sufficient. Eastern Star,
lnc., 712 P.2d at 1154(citing Goodman v. FTC, 244 F.2d 584 (9th
Cir. 1957)); See also Hawaii Community Fed. Credit Union, Id.;
Dubin, ld., citing Eastern Star, Inc., Id.).

54. Monopolization is prohibited by HRS § 480-9, which is
taken from the Sherman Act, 15 U.S.C. § 2. The Hawaii Supreme
Court, in Island Tobacco I, stated: “The offence of monopoly
under Section 2 of the Sherman Act has two elements: (1) the
possession of monopoly power in the relevant market and (2) the
willful acquisition or maintenance of that power as
distinguished from growth or development as a consequence of a
superior product, business acumen, or historic accident.” lsland
Tobacco Co. v. R.J. Reynolds Tobacco Co., 627 P.2d 260, 274
(Haw. 1981) (quoting U.S. v. Grinnell Corp., 384 U.S. 563, 570-
571, overruled on other grounds by Robert's Haw.Sch.Bus, lnc.,
v. Laupahoehoe Transp. Co., ld.).

55. ln Island Tobacco II, the federal court identified the
elements of an “Attempt to monopolize” claim as involving “(1) a
specific intent to control prices or destroy competition with
respect to a part of commerce; (2) predatory conduct directed
toward accomplishing the unlawful purpose; (3) a dangerous

probability of success.” Below-cost pricing may prove the

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specific intent and dangerous probability of success elements.

lsland Tobacco Co. V. R.J. Reynolds, 513 F.Supp. 726 (D. Haw.

 

1981).
CLAIM I
VIOLATIONS OF THE SHERMAN/CLAYTON ANTI-TRUST ACT
56. The allegations contained in the preceding paragraphs

of this Complaint are incorporated herein by reference.

57. The PANLASIGUIS are informed and believe and on that
basis allege that BOA, along with six large private banking
institutions operating within the United States sued as DOES 1-5
(collectively “the Big Six”), agreed, beginning in or about
1994, to a scheme by which they would and did set up a private
system of recording interests in land in the United States, that
would give them a competitive advantage over smaller banking
institutions to transfer mortgage loans freely into securitized
pools of like mortgages; this system became Defendant MERS.

58. The PANLASIGUIS are further informed and believe and
on that basis allege that subsequent to the creation of MERS,
the Big Six used their combined market power in the financial
industry to take control of the market for private
securitization of mortgages, to the virtual exclusion of smaller
banking institutions, such that virtually all privately
securitized mortgage loans are in trust to or serviced by the

Big Six

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59. The PANLASIGUIS are further informed and believe and
on that basis allege that subsequent to the creation of MERS,
the Big Six were able to and did control the administration and
servicing of virtually all private securitization of pooled
mortgages and the capital they generated, such that other
smaller banking institutions of the United States have been
virtually “shut out” from private sources of capital for funding
residential mortgage loans, unless they were willing to join
into the MERS system, and sell the mortgages they originated
into the mortgage pools set up and controlled by the Big Six,
such that those institutions are denied the benefits of the
interest generated by such mortgages and the income generated
from servicing those mortgages.

60. The PANLASIGUIS are further informed and believe and
on that basis allege that subsequent to the creation of MERS,
smaller banking institutions in the United States have been
forced out of the residential lending market, and instead were
forced to engage in much more speculative forms of lending, such
as construction and development loans to builders, and small to
medium sized commercial and industrial real estate loans.

61. The PANLASIGUIS are further informed and believe and
on that basis allege that subsequent to the creation of MERS,
the Big Six and MERS used their control over the residential

mortgage market by inflating the market for residential

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properties in the United States and thereby increasing the
proportionally-based fees that such larger loans would generate.

62. Such inflation manifested itself in a complete
inversion of the order of mortgage loan creation and
securitization. The Big Six’s desire for more profit led to a
system in which a security instrument would be created and
marketed to investors prior to any loan being originated. The
security would be tailored to consist of mortgages of certain
specified sizes, features, and risk levels. lt would be only
after the security was sold to investors with “place holder” and
“bogus” assets that the Big Six would send out “orders” for
mortgage loans that met the criteria set forth in the security’s
prospectus.

63. The “orders” would then be transmitted to loan
originators, whether they were units or subsidiaries the Big Six
or independent brokers. The originators would be “encouraged”
to make loans of the type specified in the orders, since those
loans were the ones most likely to be purchased and securitized.

64. The originators would then be under pressure to make
such loans to their customers, regardless of the customers’
needs. Given that the Big Six virtually controlled the market
in loans, those originators would steer customers toward those
loans, and either fail to mention or steer customers away from

loans that might be otherwise more appropriate.

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65. Because larger loans generated larger fees, the
originators would steer customers toward larger loans, whether
or not such larger loans were within the customers' means.

66. ln order to facilitate the granting of larger loans,
the Big Six developed loan products that did not depend on proof
of a borrower’s income, but rather depended on the value of the
real property secured by the loans.

67. ln order to justify the granting of larger loans,
pressure was brought to bear upon property appraisers§ those who
would not “hit the number” (appraise a property at a value that
the lender wanted to lend) would not be given further business.

68. As the result of the acts described above, the Big Six
were able to increase the size of loans they made, bought, and
securitized, allowing them to take their gains and redeploy them
into even larger securities, and in the process were able to
inflate the prices of residential real property to a point where
they were far beyond the means of the purchasers to whom they
were readily giving loans, according to the lending standards
they themselves had developed and used for decades.

69. The PANLASlGUlS are further informed and believe and
on that basis allege that the Big Six knew that such a business
that depended upon ever increasing real estate values was

unsustainable, and purposely created and used MERS to serve as a

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“firewall” between themselves, the loan originators, and the
borrowers they were routinely pulling into unsustainable debt.

70. The PANLASIGUIS are further informed and believe and
on that basis allege that the Big Six also depended upon MERS to
give them a quick and efficient way of rationalizing the
interests they would need to secure interests in the real
property, whether or not such rationalizations reflected the
true relationship between lender and borrower, once their scheme
of inflating prices reached its natural and inevitable point of
saturation, real estate prices began to fall, and borrowers fell
into financial distress.

71. The PANLASIGUIS are informed and believe, and on that
basis allege that the Big Six also created securities generallyy
known as credit default swaps (CDSs), in which they took
positions against the mortgage securities they created, in
effect betting against the very home loan borrowers they had
sought to entice into loans on constantly appreciating
residential real property, knowing that those borrowers would
eventually be unable to meet those inflated obligations that the
Big Six had endeavored to create;

72. The PANLASIGUIS are informed and believed, and on that
basis allege, that GMAC, (a) knew of and acquiesced to the
creation of MERS by the Big Six, and actively used MERS to

facilitate the creation of its own mortgage loan securities, and

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(b) knew of the acts of the Big Six described above in inflating
the mortgage market, and knowingly and willfully accepted the
benefits of such an inflated market in the form of increased
fees for servicing residential mortgage loans and residential
mortgage securities.

73. The PANLASIGUIS are informed and believe, and on that
basis allege that GMAC agreed to include MERS as mortgagee and
“nominee” for the Mortgage as part of an agreement between GMAC
as a “member” of MERS, MERS itself, and the Big Six, sued here
as DOES 1-6, inclusive, to (a) protect and insulate GMAC from
otherwise valid claims and defenses by mortgagors and borrowers
by providing an intermediary in the transaction; (b) provide a
conduit for the securitization, and exclusive access to the
business of servicing securitized mortgage loans and DOE
Defendants 1-6; and (c) eliminate competition in the real
residential loan industry in that consumers are offered only
loans that conform to the preset parameters of securitization
pools, and cannot obtain loans that more closely fit their
particular needs.

74. Defendants’ conduct, as described above violates the
Sherman Anti-Trust Act, 15 U.S.C. §§ l and 2.

75. As the result of the conduct of GMAC, MERS, and DOES
1-5 described above, The PANLASIGUIS have been damaged, in that

they have been subject to the imposition of artificially high

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mortgage rates and fees for mortgage servicing, without any
meaningful choice, and without any opportunity to bargain for
more advantageous fees, such fees being added to any balance due
to the mortgagee in the event of default, all inconsistent with
a system of free and fair trade guaranteed to all persons, and
the restraint of which is prohibited by the Sherman and Clayton
Anti-Trust Acts, 15 U.S.C. § 2 et seq.

76. Section 4 of the Clayton Antitrust Act, codified at 15
U.S.C. §15, provides as follows:

[A]ny person who shall be injured in their business or

property by reason of anything forbidden in the antitrust

laws may sue therefor in any district court of the United

States in the district in which the defendant resides or is

found or has an agent, without respect to the amount in

controversy, and shall recover threefold the damages by him
sustained, and the cost of suit, including a reasonable
attorney’s fee.

The PANLASIGUIS allege that because of defendants’
'violations of 15 U.S.C. § 2 et seq., as set forth above, they
are such persons injured in their property, and are therefore
entitled to bring an action against Defendants for Defendants’
actions complained of above.

77. As a direct and proximate result of the unlawful
conduct of GMAC, MERS, DOES 1-6, and each of them, in

monopolizing or attempting to monopolize the mortgage lending

and servicing market, The PANLASIGUIS have suffered pecuniary

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damages in an amount to be determined, and subject to treble
augmentation.

78. Plaintiffs have also been required to retain legal
counsel and therefore request that the defendants be required to
pay Plaintiffs’ attorney fees and costs necessary to pursue

their legal and just claims, pursuant to 15 U.S.C. §15,

CLAIM II
VIOLATIONS OF THE HAWAII ANTI~TRUST/ANTI-MONOPOLY ACTS

79. The allegations contained in the preceding paragraphs
of this Counterclaim are incorporated herein by reference.

80. Mortgage lending and servicing in Hawaii is an
activity in or affecting interstate commerce under Section 2 of
the Sherman Act, as the parties traffic in personal service to
foreigners and rely on foreign goods for their businesses.

81. The conduct of Defendants as described more fully
above violates the Hawaii Monopolization Act, Hawaii Revised
Statutes § 480-9.

82. As a direct and proximate result of the unlawful
conduct of Defendants, and each of them, in monopolizing or
attempting to monopolize the mortgage lending and servicing
market, Plaintiffs have suffered pecuniary damages in an amount

to be determined at trial.

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83. Plaintiffs have also been required to retain legal
counsel and therefore request that the defendants be required to
pay Plaintiffs’ attorney fees and costs necessary to pursue

their legal and just claims, pursuant to Hawaii Revised Statutes

 

§ 480-9.
CLAIM III
UNFAIR AND DECEPTIVE ACTS OR PRACTICES
84. The allegations contained in the preceding paragraphs

of this Complaint are incorporated herein by reference.

85. Plaintiffs are "consumers" as that term is defined in
HRS § 480-1.

86. The described acts and practices of making and
servicing mortgage loans involved "trade or commerce" as that
term is used in HRS § 480-2(a).

87. An unfair or deceptive act or practice (UDAP) in the
conduct of any trade or commerce is unlawful pursuant to HR8 §
480-2(a).

88. Certain deceptive trade practices are also unlawful
pursuant to HRS §481A-3.

89. ln connection with the subject loan, Defendants
engaged in UDAPs that violate HRS § 480-2(a) and/or 481A-3,

including but not limited to:

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a. Targeting financially unsophisticated and
otherwise vulnerable consumers for inappropriate
credit products;

b. Failing to adequately disclose the true costs and
`risks of the subject loan and its/their
inappropriateness for Plaintiff;

c. Failing to disclose that lender approved the
subject loan based on financial documents
.required by Defendants such as Plaintiff’s tax
returns and pay stubs without regard to
Plaintiff's ability to sustain the loan with any
reasonable means test;

d. Falsely representing or failing to fully and
completely disclose the amounts Plaintiff were
required to pay;

e. Making a defective mortgage loan or loans that
resulted in little net economic benefit to
Plaintiff with the primary objective of
generating fees.

90. Defendants’ actions in connection with the subject
loan constitute UDAPs in violation of HRS §§ 480-2(a) and/or

481A-3.

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91. Defendants’ conduct caused Plaintiff to suffer injury
to his property, including without limitation wrongfully induced
payment of money.

92. Defendants’ described acts and practices offend
established public policy and were immoral, unethical,
oppressive, unscrupulous, and substantially injurious to
consumers, and were therefore unfair in violation of HRS § 480-
2(a). j

93. Defendants’ described acts and practices involved
material representations, omissions or practices that were
likely to mislead consumers acting reasonably under the
circumstances, and were therefore deceptive in violation of HRS
§§ 480-2(a), 481A-3 and 454M, or all of them.

94. Pursuant to HRS § 480-12, a contract or agreement in
violation of HRS Chapter 480 is void and is not enforceable at
law or in equity. Plaintiffs thus seek rescission of the loan
contract.

95. ln the alternative, as the direct and proximate result
of Defendants’ acts or omissions, Plaintiffs have been damaged
in an amount to be established at trial.

96. Plaintiffs have also been required to retain legal
counsel and therefore request that the defendants be required to

pay Plaintiffs’ attorney fees and costs necessary to pursue

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their legal and just claims, pursuant to Hawaii Revised Statutes

 

§ 480-9.
CLAIM IV
BREACH OF FIDUCIARY DUTY
97. The allegations contained in the preceding paragraphs

of this Complaint are incorporated herein by reference.

98. BOA, by contracting to, and representing it would
provide mortgage loan services and a loan to the PANLASIGUIS
which they understood was not only meant to be best suited to
his needs given his income and expenses but also would allow him
to satisfy his obligations without risk of losing his property,
was a "fiduciary" in which the PANLASIGUIS reposed trust and
confidence, especially given that he was and is not an
investment banker, securities dealer, mortgage lender, mortgage
broker, or mortgage lender,

99. BOA, breached its fiduciary duties to the PANLASIGUIS
by fraudulently inducing the PANLASIGUIS to enter into a
mortgage transaction which was contrary to the PANLASIGUIS’
stated intentions and interests.

100. As a direct and proximate result of Defendants’
breaches of fiduciary, the PANLASIGUIS are entitled to
rescission of the transaction, and damages in an amount to be

established at trial.

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101. Under the totality of the circumstances, the
Defendants’ actions were willful, wanton, intentional, and
undertaken with the conscious disregard for the Plaintiff’s
rights. Such actions warrant an award of exemplary damages to
both punish and make an example of the defendant as to other
persons or entities with similar inclinations.

CLAIM V
UNJUST ENRICHMENT

 

102. The allegations contained in the preceding paragraphs
of this Complaint are incorporated herein by reference.

103. BOA had an implied contract and warranty with
Plaintiff to ensure that the Plaintiff understood all fees,
rates, payments and charges which would be paid to BOA or its
successors in interest, to obtain credit on Plaintiff's behalf,
to not charge any fees which are not related to the settlement
of the loan, and to disclose to Plaintiff that the loan products
together would provide a 30-year mortgage designed specifically
with the Plaintiff’s known personal financial information
required by BOA.

104. BOA, failed and refused, and continues to fail and
refuse to honor the warranties set forth above.

105. BOA cannot, in good conscience and equity, retain the
benefits from its actions of charging a higher interest rate,

fees, rebates, kickbacks, profits and gains from any resale of

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mortgages and notes using Plaintiff’s identity, credit score,
income, appraisal and reputation without consent, right,
justification or excuse as part of an illegal enterprise scheme.

106. BOA has been unjustly enriched at the expense of the
Plaintiffs and maintenance of the enrichment would be contrary
to the rules and principles of equity, Plaintiff thus demands
restitution from the Defendant BOA in the form of actual damages
to be proven at the trial on this matter.

CLAIM VI
INJUNCTIVE RELIEF

107. The allegations contained in the preceding paragraphs
of this Complaint are incorporated herein by reference.

108. Plaintiffs are informed and believe that Defendant Boa
intends to foreclose upon the Subject Property as soon as
possible, consistent with the Notice filed with the Hawaii
Bureau of Conveyances on December 9, 2010. l

109. Plaintiffs have alleged facts that demonstrate a
likelihood that Plaintiffs will succeed on the merits of their
claims set forth in this Complaint.

110. Plaintiffs further allege that should BOA follow
through with its stated intention to foreclose upon the Subject
Property, that they will suffer irreparable harm, including, but
not limited to loss of their rights to rescind the loan

transaction, loss of the use of the Subject Property, and loss

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of the right to exclude others from entering, making use of, or
removing things of value from the Subject Property.

111. Plaintiffs further allege that the balance of
hardships as between Defendant BOA and them falls firmly and
unequivocally in their favor, in that Plaintiffs depend on the
Subject Property as their home, while Defendant BOA is a large
business organization with ample assets upon which to depend,
and no interest in the Subject Property beyond selling it to a
third party.

112. Plaintiffs therefore seek an order from the Court
enjoining Defendant BOA from foreclosing upon the Subject
Property pursuant to any alleged power of sale, pending the
resolution of this action, whether by judgment of the Court or
mutually agreed settlement made between all of the parties to

this action§

PRAYER FOR RELIEF

 

WHEREFORE, Plaintiffs demand Judgment against Defendants,
as follows:
AS TO THE SlXTH CAUSE OF ACTION:
For an order enjoining Defendant BOA from foreclosing upon
the Subject Property pursuant to any alleged power of sale,

pending the resolution of this action, whether by judgment

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of the Court or mutually agreed settlement made between all
of the parties to this action.

AS TO THE THlRD AND FOURTH CAUSES OF ACTION:
For a judgment of rescission of the Mortgage.

AS TO THE FIRST, SECOND, AND THIRD CAUSES OF ACTION:
For a judgment awarding statutory damages in such amounts
as shall be established at the time of trial.

AS TO THE THlRD, FOURTH CAUSE GF ACTION:
For a judgment awarding exemplary damages in such amounts
as shall be proven at the time of trial.

AS TO THE FIRST, SECOND, AND THIRD CAUSE OF ACTION:
For a judgment awarding reasonable attorney’s fees
according to proof.

AS TO THE FIRST THROUGH FIFTH lNCLUSlVE, CAUSES OF ACTION:
For a judgment awarding compensatory damages in such
amounts as shall be proven at time of trial.

AS TO ALL CAUSES OF ACTION:
1. For costs of suit incurred; and
l. For such other and further relief as the Court deems

just and equitable.

DEMAND FOR JURY TRIAL
Plaintiffs, and each of them, hereby demand trial by jury

on all issues triable by right to a jury.

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Dated this \§Agyycxp\ <y\ , 2011, at Wailuku,

Hawaii.

lVEY FOSBINDER FOSBINDER LLLC
A LIMITED LlABl`Ll'l‘Y LAW COMPANY

§

JAME . FOSBINDER
Attorney for Plaintiffs

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAII

ANTONIO PANLASIGUI and LEE-ANN Civil NO.
PANLASIGUI, SUMMONS

Plaintiffs,
v.

BANK OF AMERICA, N.A. and DOES
1 through 20 inclusive,

Defendants,

 

 

SUMMONS
Summons in a Civil Action
TO THE ABOVE NAMED DEFENDANTS:

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not
counting the day you received it) - or 60 days if you are the
United States or a United States agency, or an officer or
employee of the United States described in Federal Rules of
Civil Procedure Rules 12 (a)(2) or (3) - you must serve on the
plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or
motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address is:

James H. Fosbinder

IVEY FOSBINDER FOSBINDER LLLC
1883 Mill Street

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Wailuku, Hawaii 96793
Telephone: (808)242-4956

lf you fail to respond, judgment by default will be entered
against you for the relief demanded in the complaint. You also
must file your answer or motion with the court.

This summons shall not be personally delivered between
10:00 p.m. and 6:00 a.m. on premises not open to the general
public, unless a judge of the above-entitled court permits, in

writing on this summons, personal delivery during those hours.

CLERK 'F/@§OURT sua BEmA

   

Date:

MAR le zim

 

\ `lDeputy Clerk

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